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 ATTORNEYS FOR REORGANIZED DEBTORS

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 In re:                                                     §   Chapter 11
                                                            §
 Tuesday Morning Corporation, et al.,1                      §   Case No. 20-31476-HDH-11
                                                            §
 Reorganized Debtors.                                       §   Jointly Administered

                  REORGANIZED DEBTORS’ TWELFTH OMNIBUS OBJECTION
                        (NON-SUBSTANTIVE) TO CERTAIN CLAIMS
                               (Insufficient Documentation)

          THE PROOF OF CLAIM YOU FILED AGAINST THE ABOVE-NAMED
          REORGANIZED DEBTORS IS SUBJECT TO AN OBJECTION. YOUR
          CLAIM WITH THE CORRESPONDING BASIS FOR THE OBJECTION
          IS IDENTIFIED IN EXHIBIT “1.” PLEASE CHECK THE EXHIBIT FOR
          YOUR NAME.

          COPIES OF THE OBJECTION MAY BE OBTAINED (I) FROM THE
          COURT’S WEBSITE HTTP://WWW.TXNB.USCOURTS.GOV VIA
          ECF/PACER, (II) THE DEBTORS’ CLAIMS AGENT WEBSITE
          HTTPS://DM.EPIQ11.COM/TUESDAYMORNING, OR (III) UPON
          REQUEST TO THE UNDERSIGNED.
 1
   The Reorganized Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax
 identification number, include: Tuesday Morning Corporation (8532) (“TM Corp.”); TMI Holdings, Inc. (6658)
 (“TMI Holdings”); Tuesday Morning, Inc. (2994) (“TMI”); Friday Morning, LLC (3440) (“FM LLC”); Days of the
 Week, Inc. (4231) (“DOTW”); Nights of the Week, Inc. (7141) (“NOTW”); and Tuesday Morning Partners, Ltd.
 (4232) (“TMP”). The location of the Reorganized Debtors’ service address is 6250 LBJ Freeway, Dallas, TX 75240.


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          IF YOU OBJECT TO THE RELIEF REQUESTED, YOU MUST
          RESPOND IN WRITING AND FILE YOUR RESPONSE WITH THE
          CLERK OF THE BANKRUPTCY COURT BY JUNE 28, 2021 AT 4:00
          P.M. CENTRAL TIME. YOU MUST SERVE A COPY OF YOUR
          RESPONSE ON THE PERSON WHO SENT YOU THIS OBJECTION;
          OTHERWISE, THE COURT MAY TREAT THE OBJECTION AS
          UNOPPOSED AND GRANT THE RELIEF REQUESTED.

          A HEARING ON THIS MATTER WILL BE CONDUCTED ON
          TUESDAY, AUGUST 17, 2021 AT 1:30 P.M. CENTRAL TIME BEFORE
          THE HONORABLE HARLIN D. HALE AT THE EARLE CABELL
          FEDERAL BUILDING, 1100 COMMERCE STREET, 14TH FLOOR,
          COURTROOM #3, DALLAS, TX 75242.

          Tuesday Morning Corporation and its debtor affiliates, as debtors and debtors-in-

 possession in the above-referenced chapter 11 cases (collectively, the “Reorganized Debtors”)

 hereby file this Reorganized Debtors’ Twelfth Omnibus Objection (Non-Substantive) to Certain

 Claims (Insufficient Documentation) (the “Objection”). In support of the Objection, the

 Reorganized Debtors respectfully represent as follows:

                                       Jurisdiction and Venue

          1.      The United States District Court for the Northern District of Texas (the “District

 Court”) has jurisdiction over the subject matter of this Objection pursuant to 28 U.S.C. § 1334.

 The District Court’s jurisdiction has been referred to this Court pursuant to 28 U.S.C. § 157 and

 the District Court’s Miscellaneous Order No. 33, Order of Reference of Bankruptcy Cases and

 Proceedings Nunc Pro Tunc dated August 3, 1984. This is a core matter pursuant to 28 U.S.C.

 § 157(b), which may be heard and finally determined by this Court. Venue is proper pursuant to

 28 U.S.C. §§ 1408 and 1409.




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                                                 Background

 A.       General Background

          2.      On May 27, 2020 (the “Petition Date”), the Reorganized Debtors each filed

 voluntary petitions for relief under chapter 11 of title 11 of the United States Code (the

 “Bankruptcy Code”) commencing the above captioned cases (the “Chapter 11 Cases”).

          3.      An official committee of unsecured creditors was appointed in these Chapter 11

 Cases on June 9, 2020 (the “Creditors’ Committee”). An official committee of equity holders

 was appointed in these Chapter 11 Cases on October 5, 2020 (the “Equity Committee”). No

 trustee or examiner has been requested or appointed in these Chapter 11 Cases.

 B.       Background Relevant to this Objection

          4.      On May 29, 2020, the Court entered its Order Granting Debtors’ Emergency

 Application for Authorization to Retain and Employ Epiq Corporate Restructuring, LLC as

 Claims and Noticing Agent Nunc Pro Tunc to the Filing Date [Docket No. 100]. Epiq Corporate

 Restructuring, LLC currently serves as the Reorganized Debtors’ claims and noticing agent (the

 “Claims Agent”).

          5.      On July 23, 2020, the Court entered its Order (I) Shortening the Bar Date for

 Filing Proofs of Claim, (II) Establishing Ramifications for Failure to Timely File Claims,

 (III) Approving Notice of Shortened Bar Date, and (IV) Approving the Mailing of Notices

 [Docket No. 504] (the “Bar Date Order”)2. Under the Bar Date Order, all parties holding,

 asserting, or alleging a claim, including claims under Bankruptcy Code § 503(b)(9), against the



 2
   The Court previously established September 30, 2020 as the deadline for filing proofs of claim and December 29,
 2020 as the deadline for governmental units for filing proofs of claim. The Court shortened those deadlines to
 August 28, 2020 and November 23, 2020, respectively, pursuant to the Bar Date Order and the reasons set forth in
 the Debtors’ Emergency Motion for Order (I) Shortening the Bar Date for Filing Proofs of Claim, (II) Establishing
 Ramifications for Failure to Timely File Claims, (III) Approving Notice of Shortened Bar Date, and (IV) Approving
 the Mailing of Notices [Docket No. 472]


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 Reorganized Debtors owing as of the Petition Date were required to file a proof of claim against

 the Reorganized Debtors by August 28, 20203 (the “General Bar Date”). The General Bar Date

 applied to any person or entity, other than governmental units. Under the Bar Date Order,

 governmental units were required to file claims against the Reorganized Debtors by November

 23, 2020.

          6.       The Court approved the form of notice of the Bar Date (the “Bar Date Notice”) to

 be served on: (a) all known creditors; (b) all parties that requested notice in the Chapter 11

 Cases, and (c) all other parties in interest, as required by Rule 2002 of the Federal Rules of

 Bankruptcy Procedure (the “Bankruptcy Rules”). Bar Date Order, at ¶ 4. The Court also required

 the Debtors to publish the Bar Date Notice in the national edition of USA Today. Id. at ¶ 5.

          7.       On July 27, 2020, the Debtors filed the Bar Date Notice [Docket No. 534]. The

 Bar Date Notice listed the Bar Date and the instructions for filing proofs of claim.

          8.       On July 27 and July 28, 2020, the Claims Agent mailed the Bar Date Notice to

 thousands of potential claimants and parties in interest, as evidenced by the Affidavits of Service

 filed at Docket Nos. 608 and 611.

          9.       As stated in the Notice of Publication [Docket No. 547], the Bar Date Notice was

 also published in the national edition of USA Today on July 29, 2020.

          10.      On December 23, 2020, the Court entered its Order Confirming the Revised

 Second Amended Joint Plan of Reorganization of Tuesday Morning Corporation, et al., Pursuant

 to Chapter 11 of the Bankruptcy Code [Docket No. 1913] (the “Confirmation Order”),


 3
   Exceptions to the General Bar Date contained in the Bar Date Order include: (i) claims with respect to any
 executory contract or unexpired lease that, as of the date of the Bar Date Order, had not yet been rejected (including
 any claims for pre-petition amounts due and lease rejection damages); (ii) claims arising from the recovery of a
 voidable transfer; (iii) claims arising from the assessment of certain taxes as described in Bankruptcy Code § 502(i);
 and (iv) claims arising from an amendment to the Reorganized Debtors’ bankruptcy schedules reducing the
 liquidated amount of a scheduled claim or reclassifying a scheduled, undisputed, liquidated or non-contingent claim
 as disputed, unliquidated, or contingent.


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 confirming the Revised Second Amended Joint Plan of Reorganization of Tuesday Morning

 Corporation, et al., Pursuant to Chapter 11 of the Bankruptcy Code (Confirmed Version)

 [attached to the Confirmation Order at Docket No. 1913-1] (the “Plan”)4. The Plan became

 effective on December 31, 2020 (the “Effective Date”).

            11.      Pursuant to Article VII of the Plan, the Reorganized Debtors have the authority to

 file objections to claims and equity interests (other than claims or equity interests that are

 deemed Allowed under the Plan) and settle, compromise, withdraw or litigate to judgment

 objections to any and all such claims or equity interests, regardless of whether such claims are in

 an unimpaired class under the Plan or otherwise.

 C.         Procedures for Omnibus Objections to Claims

            12.      On January 20, 2021, the Reorganized Debtors filed their Reorganized Debtors’

 Expedited Motion for Order Approving Omnibus Claim Objection Procedures [Docket No.

 2006] (the “Procedures Motion”). The Procedures Motion proposed certain procedures

 concerning omnibus claims objections to streamline the process.

            13.      The Court conducted a hearing on the Procedures Motion, and on February 2,

 2021 entered its Order Approving Omnibus Claim Objection Procedures [Docket No. 2033] (the

 “Procedures Order”). This Objection is filed pursuant to the terms of the Procedures Order.

                                                   Relief Requested

            14.      By this Objection, the Reorganized Debtors seek entry of an order, substantially

 in the form attached hereto as Exhibit A, disallowing and expunging the claims listed on Exhibit

 1 to the proposed order as “Claims to be Disallowed” (each a “Disputed Claim” and collectively,

 the “Disputed Claims”). The Reorganized Debtors have examined the Disputed Claims and



 4
     Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Plan.


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 determined that each of the Disputed Claims were filed without sufficient documentation to

 support the Proof of Claim.

                                     Basis for Relief Requested

 A.       Legal Standards

          15.     Bankruptcy Code § 502(a) governs objections to claims and provides that “[a]

 claim or interest, proof of which is filed under section 501 of this title, is deemed allowed, unless

 a party in interest . . . objects.” 11 U.S.C. § 502(a). “If such objection to a claim is made, the

 court, after notice and hearing, shall determine the amount of such claim in lawful currency of

 the United States as of the date of the filing of the petition, and shall allow such claim in such

 amount.” Id. § 502(b).

          16.     Bankruptcy Rule 3007 addresses the objections to claims. FED. R. BANKR. P.

 3007. The burden of proof is on the objecting party to produce sufficient evidence to overcome

 the prima facie effect of the claim. See In re O’Conner, 153 F.3d 258, 260 (5th Cir. 1998). If the

 objecting party succeeds, the burden shifts to the party asserting the claim, who must then

 establish the validity of the claim by a preponderance of the evidence. Id. The ultimate burden of

 proof lies with the party who would bear the burden if the dispute arose outside of the

 bankruptcy context. See In re Armstrong, 320 B.R. 97 (Bankr. N.D. Tex. 2005).

 B.       Basis for Objections

          17.     The Reorganized Debtors and their professionals have reviewed, and continue to

 review, the proofs of claim filed in these Chapter 11 Cases as well as the Debtors’ Schedules of

 Assets and Liabilities. During this review, the Reorganized Debtors and their professionals

 identified certain claims to which the Reorganized Debtors object. Pursuant to Bankruptcy Code




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 § 502 and Bankruptcy Rule 3007(d), the Reorganized Debtors object to each of the Disputed

 Claims listed on Exhibit 1 attached hereto.

          18.     The Reorganized Debtors object to each of the Disputed Claims on the grounds

 that (i) they were filed without sufficient documentation to support the Proof of Claim as

 required by Federal Rule of Bankruptcy Procedure 3001(c), and (ii) the amounts of the Disputed

 Claims do not match the Reorganized Debtors’ books and records. Exhibit 1 identifies for each

 claimant: (a) the name of the claimant; (b) the Proof of Claim number; (c) the date the Proof of

 Claim was filed; (d) the entity against which the claim was asserted; (e) the amount of the

 Disputed Claim as filed in the Proof of Claim; and (f) the basis for objection.

          19.     Accordingly, to avoid the possibility of improper recovery against the Debtors’

 estates, the Reorganized Debtors request that the Court disallow and expunge the Disputed

 Claims in their entirety for the reasons stated above.

                                         Reservation of Rights

          20.     The relief requested in this Objection is without prejudice to, nor does it constitute

 any waiver of, any claims or causes of action or defense to any claim belonging to (or that could

 be asserted by) the Reorganized Debtors, their bankruptcy estates, or any successors in interest

 under the Plan. The Reorganized Debtors reserve the right to amend, supplement, or otherwise

 modify the Objection and to file additional objections, both technical and substantive, to the

 Disputed Claims.

                                                 Notice

          21.     Notice of this Objection will be provided (a) via electronic service to all parties

 who receive notices in these Chapter 11 Cases pursuant to the Court’s ECF system and (b) via

 first class mail, postage prepaid, upon the person designated on the Claim as the person to




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 receive notices, at the address so indicated and, if applicable, upon the claimant’s attorney,

 pursuant to the Procedures Order.

                                             Conclusion

          WHEREFORE, the Reorganized Debtors respectfully request that the Court enter an

 order substantially in the form attached hereto as Exhibit A (i) sustaining the Objection to the

 Disputed Claims listed on Exhibit 1, (ii) disallowing and expunging the Disputed Claims from

 the official claims register for the reasons stated herein, and (iii) granting such other and further

 relief as may be just.

          RESPECTFULLY SUBMITTED this 27th day of May, 2021.

                                               HAYNES AND BOONE, LLP

                                               By: /s/ Jordan E. Chavez
                                               Ian T. Peck
                                               State Bar No. 24013306
                                               Jarom J. Yates
                                               State Bar No. 24071134
                                               Jordan E. Chavez
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                                              ATTORNEYS FOR REORGANIZED DEBTORS




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                                    EXHIBIT A

                                  Proposed Order




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                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

  In re:                                                       §     Chapter 11
                                                               §
  Tuesday Morning Corporation, et al.,1                        §     Case No. 20-31476-HDH-11
                                                               §
  Reorganized Debtors.                                         §     Jointly Administered


         ORDER REGARDING THE REORGANIZED DEBTORS’ TWELFTH OMNIBUS
                OBJECTION (NON-SUBSTANTIVE) TO CERTAIN CLAIMS
                            (Insufficient Documentation)

             The Court has considered the Reorganized Debtors’ Twelfth Omnibus Objection (Non-

  Substantive) to Certain Claims (Insufficient Documentation) (the “Objection”)2, filed by Tuesday

  Morning Corporation and its debtor affiliates, as debtors and debtors-in-possession in the above-

  1
    The Reorganized Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax
  identification number, include: Tuesday Morning Corporation (8532) (“TM Corp.”); TMI Holdings, Inc. (6658)
  (“TMI Holdings”); Tuesday Morning, Inc. (2994) (“TMI”); Friday Morning, LLC (3440) (“FM LLC”); Days of the
  Week, Inc. (4231) (“DOTW”); Nights of the Week, Inc. (7141) (“NOTW”); and Tuesday Morning Partners, Ltd.
  (4232) (“TMP”). The location of the Reorganized Debtors’ service address is 6250 LBJ Freeway, Dallas, TX 75240.
  2
      Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Objection.


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  referenced chapter 11 cases (collectively, the “Reorganized Debtors”); and the Court having

  jurisdiction to consider the Objection and the relief requested therein pursuant to 28 U.S.C.

  § 1334, and the Order of Reference of Bankruptcy Cases and Proceedings Nunc Pro Tunc,

  Miscellaneous Rule No. 33 (N.D. Tex. August 3, 1984); and consideration of the Objection and

  the requested relief being a core proceeding pursuant to 28 U.S.C. § 157(b); and it appearing that

  venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper

  notice of the Objection having been provided, and it appearing that no other or further notice

  need be provided; and the Court having reviewed the Objection; and all responses, if any, to the

  Objection having been withdrawn, resolved, or overruled; and the Court having determined that

  the legal and factual bases set forth in the Objection establish just cause for the relief granted

  herein; and upon all of the proceedings had before the Court and after due deliberation and

  sufficient cause appearing therefor,

           IT IS HEREBY ORDERED THAT

           1.      The Objection is SUSTAINED to the extent set forth herein with respect to the

  Disputed Claims shown on Exhibit 1.

           2.      The Disputed Claims shown on Exhibit 1 to this Order are hereby disallowed in

  their entirety and expunged from the official claim register.

           3.      This Court retains jurisdiction with respect to all matters arising from or related to

  the implementation of this Order to the extent permitted by applicable law.


                                     # # # END OF ORDER # # #




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  Submitted by:

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  ATTORNEYS FOR REORGANIZED DEBTORS




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                                                                                               Exhibit 1
                                                                                 Insufficient Documentation Claims

                    ID     Claim # Date Filed Debtor Name                             Claimant Name                              Claim Amount     Objection Page #
                     1       344     7/16/2020 Tuesday Morning, Inc.                  CHAMPION ENERGY SERVICES LLC                    $3,716.81         6-7
                     2      10244         6/9/2020 Tuesday Morning Corporation        CITY OF BRUNSWICK                                 $86.64          6-7
                     3       556         7/24/2020 Tuesday Morning Corporation        CITY OF WACO TEXAS WATER UTILITY, THE            $267.67          6-7
                     4       931         11/2/2020 Tuesday Morning Corporation        COURISTAN                                        $193.03          6-7




Tuesday Morning Corporation (20-31476)                                                                                                                               Page 1 of 1
